1          Edward J. Maney
           Chapter 13 Trustee
2          101 N. First Ave., Suite 1775
           Phoenix, Arizona 85003
3          Telephone (602) 277-3776
           ejm@maney13trustee.com
4
                                   IN THE UNITED STATES BANKRUPTCY COURT
5                                          FOR THE DISTRICT OF ARIZONA

6          In re:                                          )       CHAPTER 13 PROCEEDINGS
                                                           )
7                                                          )       CASE NO. # 2: 20-02388-BKM
                           MONIC PITRE,                    )
8                                                          )       TRUSTEE'S EVALUATION AND
                                                           )       RECOMMENDATION(S) REPORT WITH
9                                                          )       NOTICE OF POTENTIAL DISMISSAL IF
                                                           )       CONDITIONS ARE NOT SATISFIED
10                                                         )       RE: CHAPTER 13 PLAN
                                           (Debtor(s)      )       docket #19      filed March 23, 2020
11

12                  Edward J. Maney, Trustee, has analyzed the Debtor’s Chapter 13 Plan and supporting

13         documents and submits the following evaluation and recommendation(s):
14
      General requirements:
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           a.       Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
17                  all proofs of claim filed with the Court and resolve any discrepancies between the claims and
                    the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
18                  submit a copy of the Court’s Claims Register with any submission of the Order Confirming.

19     b.           Requests by the Trustee for documents and information are not superseded by the filing of an
                    amended plan or motion for moratorium.
20
       c.           The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21                  Confirming Plan unless an amended or modified plan is filed and noticed out.

22     d.           The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                    copies of their federal and state income tax returns for every year during the duration of the
23                  Chapter 13 Plan. This requirement is to be included in any Order Confirming.
24     e.           The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                    Order shall not constitute an informal proof of claim for any creditor.”
25
      f.            The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26                  remit all payments on or before the stated due date each month. Debtor is advised that when
                    payments are remitted late, additional interest may accrue on secured debts, which may result in
27
                    a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
28                  Case can be discharged. This requirement is effective regardless of Plan payments
                    suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

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4      g.    At the time of confirmation, the Trustee will require the Debtors to certify that they are current
             on all required tax filings and any domestic support orders.
5
        h.   At the time of confirmation, the debtor(s) are required to certify, via language in the Order
6            Confirming, that they are current on all payments that have come due on any Domestic Support
             Orders since the filing of their case and that they are current on all required tax return
7            filings [pursuant to 11 U.S.C. §1308].
8       i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
             accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
9
             Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
10           Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
             counsel.
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13    Specific Recommendations:

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      1.     The Trustee requires the debtors supply a copy of statements that reveals the balance on
15           hand - in all of their financial/bank accounts - on the date of the filing of their case.
16    2.     The proofs of claim filed by NPRTO Arizona, LLC/Progressive Leasing (furniture - claim #8) and
             the Arizona Department of Revenue (amended, priority claim #7) differ by classification and/or
17           amount from these creditors' treatment under the Plan. To resolve this discrepancy, the Trustee
             requires either; a) Debtor object to the Proof of Claim; b) the creditor sign-off on an Order
18           Confirming; c) the Order Confirming be altered to pay the creditor pursuant to the Proof of Claim
             including payment of the contract rate of interest; or d) Debtor file an Amended Plan to provide
19
             for the creditor's claim as shown by the Proof of Claim.
20
      3.     The Arizona Department of Revenue's amended proof of claim [#7] dated March 31, 2020
21           indicates the Debtor has not filed income tax returns for 2010, 2013 and 2017. The Trustee
             requires Debtor to immediately prepare and file all unfiled tax returns. Failure to file said
22           returns or the required Affidavit within 30 days from the date of this Trustee's
             Recommendation and providing a stamped copy of said returns may result in the Trustee
23           lodging an Order automatically dismissing Debtor's case.

24    4.     The Chapter 13 Plan states that NPRTO/Progressive Leasing (furniture – claim #8) will be paid
             an amount greater than that listed on their proof of claim. The debtor may use the lesser claim
25           amount in the Stipulated Order Confirming Plan.
26    5.     The Internal Revenue Service's proof of claim [#5] dated March 27, 2020 indicated Debtor has
             not filed income tax returns for 2017. The Trustee requires Debtor to immediately prepare and
27           file all unfiled tax returns. Failure to file said returns or the required Affidavit within 30
             days from the date of this Trustee's Recommendation and providing a stamped copy of
28           said returns may result in the Trustee lodging an Order automatically dismissing
             Debtor's case.

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6     6.    The Plan proposes payment of the secured claims to Dynasty Finance (2014 Ford Focus)
            and Snap Finance (bed) who have not filed secured proofs of claim. The Trustee requires
7           the Debtor(s) to provide verification of the creditor’s security interest by providing him with a
            copy of the security documents, such as a security agreement, UCC-1, title, deed of trust or
8           the like. Moreover, the Trustee requires that the Order Confirming Plan provide: “The
            Trustee has authority to pay on the secured debts owed to Dynasty Finance and Snap
9           Finance even though these creditors have not filed secured proofs of claim, but the Plan
            and this Order are not an informal proof of claim for any creditor.” Alternatively, if the
10          security interest cannot be verified by the Debtor(s), then the Debtor(s) may delete the
            proposed treatment in a proposed order confirming plan:
11          a.      pursuant to the language in Section (C)(5) of the Model Plan;
            b.      after filing a motion and providing 28 days’ notice to the creditor of the intent to delete
12                  the proposed secured treatment from the Plan; or
            c.      by having the creditor, through its agent/representative or legal counsel, sign the order
13                  confirming plan approving the treatment of its claim through the Plan.
14    7.    Considering items #2, #3, #4 and #5 above, the Trustee's analysis reveals a $8,781 funding
            shortfall, which must be cured before the Plan can be confirmed.
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      8.    The Debtors received significant tax refunds for 2019, which, if allowed to continue, would
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            constitute a diversion of projected disposable income. The Trustee requires the Debtors to
17          adjust payroll tax deductions to prevent over- or under-withholding, amend Schedule I
            increasing Plan payments accordingly and provide two consecutive pay stubs to verify this
18          has been corrected OR turn over tax refunds for each year during the life of the plan (2020,
            2021 and 2022) as supplemental plan payments.
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23                   In summary, the Plan can be confirmed subject to the condition(s) noted above,
            adequate funding, and timely filed Stipulated Order Confirming, and Court approval. The
24          Trustee requires that any Stipulated Order Confirming contain the “wet” signatures from
            the debtors (where applicable), debtors counsel and objecting creditors if there are any.
25           General unsecured creditors (including secured creditors with unsecured deficiency balances)
            will be paid through the Trustee, subject to timely filed and allowed claims. Chapter 7
26          reconciliation requirement must be met given debtors’ scheduled equity in non-exempt property
            at petition date. You are hereby advised that the Trustee may lodge an Order of Dismissal
27          should Debtor fail to resolve item(s) #1, #3, #5, #7 above and submit a Stipulated Order
            Confirming to the Trustee for review and signature or request a hearing within 30 days
28          from the date of the mailing of this Trustee's Recommendation.


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            Date See Electronic Signature Block
3
                                                                      EDWARD J. MANEY,
4                                                                     CHAPTER 13 TRUSTEE
5

6

7                                                                  Edward Digitally          signed
                                                                                    by Edward J.
8
                                                                   J. Maney, Maney, Esq.
                                                                                    Date: 2020.06.01
                                                               By: Esq.
9
                                                                                    11:25:12 -07'00'
                                                                    _______________________________
10
                                                                      Edward J. Maney ABN 12256
11                                                                    CHAPTER 13 TRUSTEE
                                                                      101 North First Ave., Suite 1775
12                                                                    Phoenix, Arizona 85003
                                                                      (602) 277-3776
13                                                                    ejm@maney13trustee.com

14          Copies of the forgoing
            mailed on [see electronic signature],
15          to the following:

16

17          Monic Pitre
            3802 E. Baseline Rd., Apt. #1056
18          Phoenix, Arizona 85042
            Debtor
19

20          Thomas A. McAvity, Esq.
            4742 North 24th Street
21          Suite #300
            Phoenix, Arizona 85016
22          Debtor’s counsel

23

24

25
                                            Digitally signed by
26                Susan     Susan Havermale
27                Havermale Date: 2020.06.01
                            12:12:30 -07'00'
28          By:
                     Trustee’s Clerk

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